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                                                             U.S. Department of Justice
                                                             Civil Rights Division
                                                             NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

VIA EMAIL                                                    150 M Street, N.E.
                                                             Karen Ferguson , EMP, 4CON, Room 9.514
                                                             Washington, DC 20530

                                                             March 08, 2023

Ms. Robin Brooks
c/o Lara K. Pabst, Esquire
Law Offices of Krigel & Krigel
4520 Main Street
Suite 700
Kansas City, MO 64111

Re: EEOC Charge Against Board of Public Utilities
No. 563202200768

Dear Ms. Brooks:

   Because you filed the above charge with the Equal Employment Opportunity Commission, and
more than 180 days have elapsed since the date the Commission assumed jurisdiction over the charge,
and no suit based thereon has been filed by this Department, and because you through your attorney
have specifically requested this Notice, you are hereby notified that you have the right to institute a
civil action against the above-named respondent under: Title I of the Americans with Disabilities Act
of 1990, 42 U.S.C. 12111, et seq., and, Title V, Section 503 of the Act, 42 U.S.C. 12203.
   If you choose to commence a civil action, such suit must be filed in the appropriate Court within
90 days of your receipt of this Notice.
  The investigative file pertaining to your case is located in the EEOC Kansas City Area Office,
Kansas City, KS.
  This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whether or not your case is meritorious.
                                                         Sincerely,

                                                       Kristen Clarke
                                                  Assistant Attorney General
                                                    Civil Rights Division

                                                 by    /s/ Karen L. Ferguson
                                                     Karen L. Ferguson
                                                Supervisory Civil Rights Analyst
                                                Employment Litigation Section


cc: Kansas City Area Office, EEOC
  Board of Public Utilities
